Case: 25-1571   Document: 17   Page: 1   Date Filed: 04/11/2025
Case: 25-1571   Document: 17   Page: 2   Date Filed: 04/11/2025
        Case: 25-1571    Document: 17    Page: 3   Date Filed: 04/11/2025



     ADDENDUM TO CIVIL APPEAL INFORMATION STATEMENT
                      (FOR NO. 25-1571)
Name of Party(ies)

(cont. from page 1 of Civil Appeal Information Statement):

   • ATLAS DATA PRIVACY CORPORATION, as assignee of individuals who

      are Covered Persons;

   • JANE DOE-1, a law enforcement officer;

   • JANE DOE-2, a law enforcement officer;

   • EDWIN MALDONADO;

   • SCOTT MALONEY;

   • JUSTYNA MALONEY;

   • PATRICK COLLIGAN; and

   • PETER ANDREYEV.

Name of Counsel on Appeal

(cont. from page 1 of Civil Appeal Information Statement):

For Appellee(s):

Name of Counsel:         Adam R. Shaw; Mark C. Mao; Eric M. Palmer;
                         Samantha D. Parrish of Boies Schiller Flexner LLP
Names of Party(ies):     Atlas Data Privacy Corporation, Jane Doe-1, Jane Doe-2,
                         Edwin Maldonado, Scott Maloney, Justyna Maloney,
                         Patrick Colligan, and Peter Andreyev
Address:                 30 S. Pearl Street, 12th Floor, Albany, NY 12207
Telephone No.:           518-434-0600
Email:                   ashaw@bsfllp.com; mmao@bsfllp.com;
                         epalmer@bsfllp.com; sparrish@bsfllp.com




                                        1
         Case: 25-1571   Document: 17       Page: 4   Date Filed: 04/11/2025




Name of Counsel:         Kashif T. Chand, Esq.
Names of Party(ies):     Intervenor, Attorney General New Jersey
Address:                 Office of Attorney General of New Jersey, 124 Halsey
                         Street, 5th Floor, Newark, NJ 07102
Telephone No.:           908-705-3958
Email:                   Kashif.chand@law.njoag.gov




                                        2
        Case: 25-1571    Document: 17     Page: 5    Date Filed: 04/11/2025




Other Pending Cases (cont. from page 2 of Civil Appeal Information Statement):

Case Name:       Atlas Data Privacy Corp., et al v. We Inform, LLC, et al.
D.C. Docket No.: 1 :24-cv-4037-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1555

Case Name:       Atlas Data Privacy Corp. et al. v. Infomatics, LLC, et al.
D.C. Docket No.: 1 :24-cv-4037-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1556

Case Name:         Atlas Data Privacy Corp., et al v. The People Searchers, LLC
Docket No.:        1:24-cv-4045-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1557

Case Name:         Atlas Data Privacy Corp., et al v. DM Group, Inc., et al
Docket No.:        1:24-cv-40475-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1558

Case Name:       Atlas Data Privacy Corp., et al v. Deluxe Corporation, et al.
D.C. Docket No.: 1 :24-cv-4080-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1559

Case Name:       Atlas Data Privacy Corp., et al v. Quantarium Alliance, LLC
D.C. Docket No.: 1 :24-cv-4098-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1560

Case Name:       Atlas Data Privacy Corp., et al v. Yardi Systems, Inc., et al.
D.C. Docket No.: 1 :24-cv-4103-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1561




                                         3
        Case: 25-1571    Document: 17    Page: 6    Date Filed: 04/11/2025




Case Name:       Atlas Data Privacy Corp., et al v. Digital Safety Products, LLC
D.C. Docket No.: 1:24-cv-4141-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1562

Case Name:       Atlas Data Privacy Corp., et al v. Civil Data Research
D.C. Docket No.: 1:24-cv-04143-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1563

Case Name:       Atlas Data Privacy Corp., et al v. Scalable Commerce, LLC
D.C. Docket No.: 1:24-cv-04160-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1564

Case Name:       Atlas Data Privacy Corp., et al v. Labels & Lists, Inc.
D.C. Docket No.: 1 :24-cv-4174-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1565

Case Name:       Atlas Data Privacy Corp., et al v. Innovis Data Solutions Inc.,
D.C. Docket No.: 1 :24-cv-4176-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1566

Case Name:       Atlas Data Privacy Corp., et al v. Accurate Append, Inc.
D.C. Docket No.: 1 :24-cv-4178-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1567

Case Name:       Atlas Data Privacy Corp., et al v. Zillow, Inc., et al.
D.C. Docket No.: 1:24-cv-04256-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1568

Case Name:       Atlas Data Privacy Corp., et al v. Equimine, Inc., et al.
D.C. Docket No.: 1:24-cv-04261 -HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1569


                                        4
        Case: 25-1571     Document: 17      Page: 7     Date Filed: 04/11/2025




Case Name:       Atlas Data Privacy Corp., et al. v. Thomson Reuters Corp.
D.C. Docket No.: 1:24-cv-04269-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1570

Case Name:       Atlas Data Privacy Corp., et al v. Restoration of America, et al
D.C. Docket No.: 1 :24-cv-4324-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1572

Case Name:         Atlas Data Privacy Corp., et al v. i360, LLC, et al.
Docket No.:        1 :24-cv-4345-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1573

Case Name:       Atlas Data Privacy Corp., et al v. GoHunt, LLC, et al.
D.C. Docket No.: 1 :24-cv-04380-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1574

Case Name:       Atlas Data Privacy Corp., et v. Accuzip, Inc., al.
D.C. Docket No.: 1 :24-cv-4383 -HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1575

Case Name:       Atlas Data Privacy Corp., et al v. Synaptix Technology, LLC
D.C. Docket No.: 1 :24-cv-4385-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.:      25-1576

Case Name:         Atlas Data Privacy Corp., et v. Joy Rockwell Enter., Inc.. al.
D.C. Docket No.:   1 :24-cv-4389-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1577

Case Name:         Atlas Data Privacy Corp., et al v. Fortnoff Financial, LLC,
D.C. Docket No.:   1 :24-cv-04390-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1578


                                           5
         Case: 25-1571      Document: 17       Page: 8     Date Filed: 04/11/2025




Case Name:           Atlas Data Privacy Corp., et al v. MyHeritage, Ltd., et al.
D.C. Docket No.:     1 :24-cv-4392-HB
Court or Agency:     United States District Court for the District of New Jersey
Docket No.:          25-1579

Case Name:           Atlas Data Privacy Corp., et al v. E-Merges.com, Inc.
D.C. Docket No.:     1:24-cv-4434-HB
Court or Agency:     United States District Court for the District of New Jersey
Docket No.:          25-1580

Case Name:           Atlas Data Privacy Corp., et al v. Nuwber, Inc., et al.
D.C. Docket No.:     1 :24-cv-4664-HB
Court or Agency:     United States District Court for the District of New Jersey
Docket No.:          25-1581

Case Name:           Atlas Data Privacy Corp., et al v. RocketReach LLC, et al.
D.C. Docket No.:     1 :24-cv-4664-HB
Court or Agency:     United States District Court for the District of New Jersey
Docket No.:          25-1582

Case Name:           Atlas Data Privacy Corp., et al v. Belles Camp Comm., Inc.,
D.C. Docket No.:     1 :24-cv-04949-HB
Court or Agency:     United States District Court for the District of New Jersey
Docket No.:          25-1583

Case Name:           Atlas Data Privacy Corp., et al v. PropertyRadar, Inc., et al.
D.C. Docket No.: .   1 :24-cv-5600-HB
Court or Agency:     United States District Court for the District of New Jersey
Docket No.:          25-1584

Case Name:           Atlas Data Privacy Corp., et al v. The Alesco Group, L.L.C.
D.C. Docket No.:     1 :24-cv-5656-MB
Court or Agency:     United States District Court for the District of New Jersey
Docket No.:          25-1585

Case Name:           Atlas Data Privacy Corp., et al v. Searchbug, Inc.
D.C. Docket No.:     1 :24-cv-05658-MB
Court or Agency:     United States District Court for the District of New Jersey
Docket No.:          25-1586


                                              6
        Case: 25-1571     Document: 17      Page: 9      Date Filed: 04/11/2025




Case Name:         Atlas Data Privacy Corp., et al. v. Amerilist, Inc., et al.
D.C. Docket No.:   1 :24-cv-05775-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1587

Case Name:         Atlas Data Privacy Corp., et al. v. US Data Corporation, et al.
D.C. Docket No.:   1 :24-cv-7324-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1588

Case Name:         Atlas Data Privacy Corp., et al. v. Smarty, LLC, et al.
D.C. Docket No.:   1 :24-cv-8075-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1589

Case Name:         Atlas Data Privacy Corp., et al. v. Compact Inform. Sys., LLC
D.C. Docket No.:   1 :24-cv-8451 -HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1590

Case Name:         Atlas Data Privacy Corp., et al. v. Darkowl, LLC, et al.
D.C. Docket No.:   1 :24-cv-10600-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1591

Case Name:         Atlas Data Privacy Corp., et al. v. Spy Dialer, Inc.
D.C. Docket No.:   1 :24-cv-11023 -HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1592

Case Name:         Atlas Data Privacy Corp., et al. v. Lighthouse List Co., LLC
D.C. Docket No.:   1 :24-cv-11443 -HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1593

Case Name:         Atlas Data Privacy Corp., et al. v. First Direct, Inc.
D.C. Docket No.:   1:25-cv-01480-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1676


                                           7
        Case: 25-1571    Document: 17      Page: 10      Date Filed: 04/11/2025




Case Name:         Atlas Data Privacy Corp., et al. v. Greenflight Venture Corp.
D.C. Docket No.:   1:25-cv-01517-HB
Court or Agency:   United States District Court for the District of New Jersey
Docket No.:        25-1677




                                           8
